                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for lack of prosecution.
A case management conference was scheduled at 1:30 p.m. on July 12, 2011, to consider Plaintiffs' appeal. On May 24, 2011, the court emailed notice of the scheduled case management conference to the email address Plaintiffs provided to the court. The notice was not returned as undeliverable. The notice advised that if Plaintiffs did not appear, the court might dismiss the appeal.
On July 13, 2011, the court sent a letter to Plaintiffs at 8451 SE Regner Road, Gresham, Oregon, 97080, which is the address Plaintiffs provided to the court on their Complaint. The letter explained the importance of diligently pursuing their appeal. That letter was not returned as undeliverable. The letter further advised that if Plaintiffs did not provide a written explanation by July 27, 2011, for their failure to appear, the court would dismiss the appeal. As of this date, Plaintiffs have not submitted a written response to the court explaining their failure to appear at the July 12, 2011, case management conference. Under such circumstances, the court finds the appeal must be dismissed for lack of prosecution. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that the Complaint is dismissed.
Dated this ___ day of August 2011.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to: Fourth Floor,1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the dateof the Decision or this Decision becomes final and cannot bechanged.
 This document was signed by Magistrate Dan Robinsonon August 11, 2011. The Court filed and entered this documenton August 11, 2011. *Page 1 